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          EXHIBIT A
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                                           February 3, 2023

Via E-mail                                                                                                               Sonila Themeli
                                                                                                                             Senior Counsel
Hon. Andrew S. Hanen
United States Courthouse                                                                                        JPMorgan Chase Tower
515 Rusk Street, Room 9110                                                                                    600 Travis St., Suite 3400
Houston, Texas 77002                                                                                             Houston, Texas 77002
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Email: Rhonda_Hawkins@txs.uscourts.gov                                                                                  d 713.546.5656
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                                                                                                                    sthemeli@shb.com
        RE:       Receiver’s Response to Mr. Flack’s Letter to the Court
                  Requesting Prehearing Conference
                  Securities and Exchange Commission v. Mauricio Chavez,
                  Giorgio Benvenuto, CryptoFX, LLC (Defendants) and CBT
                  Group, LLC (Relief Defendant); Case No. 4:22-CV-03359

Dear Judge Hanen:

       I represent John Lewis, Jr., who has been appointed by the Court as the
Receiver for Mauricio Chavez and Giorgio Benvenuto, individually, and for
CryptoFX, LLC, and CBT Group, LLC (collectively “Defendants”). This letter
responds to Mr. Flack’s January 26, 2023 letter regarding payment of Mr.
Chavez’s attorney’s fees from recovered receivership assets.

         At issue here is what constitutes “reasonable attorney’s fees” in this case
in light of the fact that Mr. Chavez still has not accounted for the $7,106,867.00
that he and CryptoFX collected from September 20, 2022, when this Court
ordered the asset freeze (Receivership Order, para. 3), to September 28, 2022,
the day before entry of the Receivership Order,1 and the fact that Mr. Chavez
has failed to cooperate with the Receiver in direct violation of this Court’s
Receivership Order, thus causing undue burden and expense on the estate. 2

        On December 1, 2022, Mr. Flack notified the undersigned that he had
been retained by Mr. Chavez and that he “plan[ned] to file an appearance and
notify the Court of [his] rate and request a retainer of $25,000.” He also asked

1
  This amount does not include the funds that were collected after the entry of the
Receivership Order. See Motion for Show Cause at 6.
2
   Soon after his appointment, the Receiver clawed back the retainers from the
Defendants’ prior lawyers. See Receiver First and Second Status Reports (Doc. Nos.
33 and 50).

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for the Receiver’s position on his rate and retainer. See December 1, 2022
Email attached to Mr. Flack’s Letter. In accordance with the Receivership
Order, which provides that the Receiver “shall make allowances . . . for
reasonable attorneys’ fees for the Defendants,” the Receiver approved $14,500
                                                                                                                             February 3, 2023
if Mr. Chavez turned over three of his four automobiles and provided                                                                   Page 2
information the Receiver had repeatedly requested from Mr. Chavez. The
Receiver also approved an additional $14,500 retainer for Mr. Flack
conditioned on Mr. Chavez’s cooperation with the Receiver. Id. Mr. Flack did
not file a motion for approval of his rate or request a retainer with the Court
when he entered this case.

        On January 24, 2023, as stated in Mr. Flack’s letter, he requested the
Receiver’s position on the fees and expenses incurred in his representation of
Mr. Chavez in this case—$6,050 for November and $56,155 for work done in
December 2022. The Receiver responded that he did not think the fees were
reasonable considering Mr. Chavez’s lack of cooperation since the start of this
case, which is the subject of the Receiver’s Motion for Show cause (Doc. No.
39) and discussed in the Receiver’s First and Second Reports (Doc. Nos. 33,
50). While the Receiver is not opposed to the payment of a “reasonable” fee to
Mr. Flack out of recovered funds that would pay victims of Mr. Chavez’s
alleged fraud, the Receiver finds Mr. Chavez’s continued refusal to provide
basic information such as turnover of a computer and delivery of passwords
based upon an untenably broad claim of 5th Amendment privilege contrary to
applicable law, public policy, and the equities in this case. 3 Regardless, the
Receiver approved $30,000 in attorney’s fees to be paid quarterly with a 20%
hold back and subject to a 30-day approval. The Receiver thinks this is a
reasonable amount of attorney’s fees and it is in accordance with the
Receivership Order on how professionals, including the Receiver, are to be
paid. See January 24, 2023 email from undersigned to Mr. Flack, attached to
Mr. Flack’s letter.

        Mr. Flack complains that the Receiver should not condition payment of
the attorney’s fees on Mr. Chavez’s cooperation with the Receiver and turnover
of Receivership assets. Yet, the Receivership Order specifically requires Mr.
Chavez, among other things, to “[c]ooperate expeditiously in providing
information and transferring funds, assets and accounts to the Receiver or at the
direction of the Receiver.” Order at ¶ 16.D. The Order also requires Mr.
Chavez to stop all activities related to CryptoFX, which undisputedly continued


3
  Receiver’s position regarding Chavez’s impermissibly broad 5th Amendment
assertion is briefed in more detail in Receiver’s Reply to Chavez’s Response to
Receiver’s Show Cause Motion (Doc. N0. 49)
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after the appointment of the Receiver and appear to still continue.4 Mr. Chavez
cannot pick and choose which provisions of the Order he likes to comply with.

        The Court has authority to freeze assets in a civil enforcement action,
                                                                                                                              February 3, 2023
and “it also has the discretion to unfreeze those assets when equity requires.’”                                                        Page 3
F.T.C. v. Liberty Supply Co., No. 4:15-CV-829, 2016 WL 4182726, at *2 (E.D.
Tex. Aug. 8, 2016) (quoting F.T.C. v. Vantage Point Servs., LLC, 15-65-6S,
2016 WL 1745514, at *1 (W.D.N.Y. May 3, 2016)). When determining the
release of frozen assets, the Court must balance the interests of investors in
preserving the assets for possible later restitution with the interests of the parties
seeking release from the freeze. Id. (citing S.E.C. v. Dobbins, No. 3:04-CV-
0605-H, 2004 WL 957715, at *2 (N.D. Tex. Apr. 14, 2004)). “In balancing the
defendants’ right to fund their defense against the preservation of assets to
compensate potential victims, the Court considers ‘whether the defendants have
other available funds by which to pay their attorneys, which requires full
financial disclosure by the defendants’ as well as ‘the claims of the consumers
who were the victims of the defendants’ [alleged] wrongdoing.” Vantage Point
Servs., L.L.C., 2016 WL 1745514, at *2. “Therefore, while ‘some kind of
allowance must be made to permit each defendant to pay reasonable attorneys’
fees if [the defendant] is able to show that he cannot pay them from new or
exempt assets; the burden . . .will be on the defendant to satisfy the court that
he can secure the services of an attorney only if assets subject to the freeze order
are released.’” Liberty Supply, 2016 WL 4182726, at *3 (quoting Fed. Savings
& Loan Ins. Corp. v. Dixon, 835 F.2d 554, 565 (5th Cir. 1987). Additionally,
“[t]o persuade a court to unfreeze assets, the defendant must establish that the
funds he seeks to release are untainted and that there are sufficient funds to
satisfy any disgorgement remedy that might be ordered in the event a violation
is established at trial.” SEC v. Stein, 2009 WL 1181061, at *1 (S.D.N.Y. Apr.
30, 2009).




4
  Investors brought to the attention of the Receiver yesterday afternoon, that CryptoFX
sales agents and/or former employees are speaking on behalf of the SEC and Receiver
and sending investors the following message: “Important announcement: CFX
Academy sends this communication to inform you that the waiting time to start
processing payments will be approximately 60 days or more. In the event that you do
not want to wait, you can communicate directly with the SEC at the number
7135465653 (Receiver’s number) so that you can start your payment process on your
contract through that number; they will give you the instructions to follow. If you want
more information, you can contact the CFX academy Customer Service main line at
7134290262.” See attached copies of these messages in Spanish.
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        Here, Mr. Chavez requests that the attorney’s fees be paid out of the
Receivership estate;5 thus, there is a strong interest in preserving the assets to
compensate the victims in this case. Additionally, Mr. Chavez has not
demonstrated a need to access frozen funds to pay for his attorney’s fees
                                                                                                                              February 3, 2023
choosing instead to attempt to hide behind a seemingly unlimited blanket claim                                                          Page 4
of 5th Amendment privilege that, in his view, protects him from turning over a
computer and cellphone, providing any personal financial disclosure or
providing any accounting, banking, employee data (including required tax
forms 1099, W-2), insurance or any information regarding the myriad of other
(non-receivership) affiliated business ventures As stated above and in the
Receiver’s Motion for Show Cause, he has not provided an accounting of his
assets and the funds he took from CryptoFX. Nor has he made a showing that
he is not able to obtain (or even seeking) gainful employment to cover his
attorney’s fees (as well as his living expenses). Nothing in the Receivership
Order prohibits Mr. Chavez from obtaining gainful employment. See F.T.C. v.
ACRO Servs. LLC, No. 3:22-CV-00895, 2023 WL 351202, at *5 (M.D. Tenn.
Jan. 20, 2023); F.T.C. v. Telestar Consulting, Inc., 2017 WL 11632797, at *5
(C.D. Cal. March 22, 2017) (“Perhaps the most problematic aspect of
Defendant’s request [to unfreeze assets] is his failure to make any showing
either that his wife or his daughters have made efforts to obtain gainful
employment sufficient to cover their expenses or that these individuals are
incapable of working.”). Indeed, unfreezing assets becomes significantly less
necessary where a defendant can earn a living. 6 Further and importantly, he has
not shown that the funds he seeks to release are untainted and that there are

5
  Although the Receivership Order provides that “the Receiver shall make allowances
for reasonable living expenses for the individual Defendants and for reasonable
attorney’s fees,” see Order at ¶ 3, it does not specify whether those funds should come
from the Receivership Estate, or from money Mr. Chavez earns through legitimate
employment.
6
  SEC v. Quinn, 997 F.2d 287, 289 (7th Cir. 1993) (“Parties to litigation usually may
spend their resources as they please to retain counsel. ‘Their’ resources is a vital
qualifier. Just as a bank robber cannot use the loot to wage the best defense money
can buy, so a swindler in securities markets cannot use the victims' assets to hire
counsel who will help him retain the gleanings of crime.”) (citations omitted).
Numerous other courts agree. See, e.g., CFTC v. Wilson, No. 11CV1651 WQH BLM,
*3 (S.D. Cal. Dec. 20, 2011) (“When funds are linked directly to the fraud, it would
frustrate the purpose of the regulation to allow the defendant to use funds for attorney
fees.”); S.E.C. v. Merrill Scott & Assocs., S.E.C. v. Merrill Scott & Assocs., Ltd., No.
2:02-CV-39-TC, 2008 WL 80257, at *1 (D. Utah Jan. 7, 2008) (defendant “is not
entitled to fund his defense costs in this litigation from funds he acquired through
fraud.”); S.E.C. v. Grossman, 887 F. Supp. 649, 661 (S.D.N.Y. 1995) (“it is well-
established that there is no right to use the money of others for legal services”).
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sufficient funds to satisfy any disgorgement remedy that might be ordered in
the event a violation is established at trial.

       The Receiver does not doubt Mr. Flack’s expertise and takes no issue,
                                                                                                                               February 3, 2023
generally, with the fees he claims to have incurred. The question here is                                                                Page 5
whether it is reasonable for the estate to pay for Mr. Chavez’s attorney’s fees
on these facts.

         Mr. Chavez has also requested an allowance for living expenses in the
amount of $11,430.29 a month. The Receiver finds this amount highly
unreasonable. For example, the IRS national standard for personal expenses is
only $785 a month for an individual and $1,410 for a family of two. 7 The
undersigned and Mr. Flack are working on resolving some of the issues raised
by Mr. Chavez’s request for living expenses (such as his BMW for which he
appears to pay over $1000/month in car payments and insurance); however,
without an accounting of Mr. Chavez’s assets and a showing that he is unable
to work, there is no basis on which to determine what is “reasonable” and what
is not.8

        Therefore, the parties seeks the Court’s guidance on the above issues.

Sincerely,




Sonila Themeli
Counsel for Receiver John Lewis, Jr.




7
   https://www.irs.gov/businesses/small-businesses-self-employed/national-standards-
food-clothing-and-other-items (last accessed Feb. 2, 2023).
8
  It is also important to note that the other individual defendant in this matter, Mr.
Benvenuto, presented, through counsel, a request for reasonable monthly living
expenses of $6,000 providing with his request, related substantiation of the claimed
expenses. The Receiver accepted this proposal and has been providing the requested
allowance because 1) the Receiver found this proposal reasonable and 2) Mr.
Benvenuto, has, without waiving any privileges, been cooperative with the Receiver
and his team thus far in this case.
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